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Debtor 1 Lazaro F Bauta

First Name Middie Name Last Name
Debtor 2 Maricela Palomino
(Spouse if, filing) First Name Middie Name Last Name

United States Bankruptcy Court forthe: SOUTHERN DISTRICT OF FLORIDA

Case number
{if known) os CO Check if this is an

amended filing

Official Form 106Dec

Declaration About an Individual Debtor's Schedules 42115

lf two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedulés. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3577. i:

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

gm No

GV Yes. Name of person _ Attach Bankruptcy Petition Preparer’s Notice, Declaration,
and Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they are true and corre
x X VE lecee 20 -

Lazaro F Bauty Maricela Palomino

Signature of Deptor 1. Signature of Debtor 2

Date 3-/0-/6 Date 3/0: le
Official Form 106Dec Declaration About an Individuat Debtor's Schedules

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